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                                 No. 24-13590

                                    IN THE
            United States Court of Appeals
               for the Eleventh Circuit
               DELTONA TRANSFORMER CORPORATION,

                                                          Plaintiff-Appellee,

                                       v.

                          THE NOCO COMPANY,

                                                       Defendant-Appellant.


   On Appeal from the U.S. District Court for the Middle District of Florida,
         Case No. 6:19-cv-00308-CEM (Hon. Carlos E. Mendoza)


    MOTION FOR LEAVE TO FILE BRIEF OF 31 INTELLECTUAL
  PROPERTY AND MEDIA LAW PROFESSORS AS AMICI CURIAE IN
          SUPPORT OF APPELLANT AND REVERSAL


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                                    Nina K. Srejovic
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     CERTIFICATE OF INTERESTED PERSONS AND CORPORATE
                  DISCLOSURE STATEMENT

      Amici Intellectual Property and Media Law Professors, by and through

undersigned counsel, and pursuant to Federal Rule of Appellate Procedure Rule 26.1

and Eleventh Circuit Rule 26.1-1(a)(3), hereby notify the Court that the Certificate

of Interested Persons filed by Appellant The NOCO Company (Dkt.6) is correct and

complete, with the following additions:

   1. Carrier, Michael A. (Professor, Rutgers Law School): Amicus Curiae

   2. Catanzaro, Zachary (Professor, St. Thomas University, Benjamin L. Crump

      College of Law): Amicus Curiae

   3. Diamond, Shari Seidman (Professor, Northwestern University Pritzker

      School of Law): Amicus Curiae

   4. Dobbs, Ashley R. (Professor, University of Richmond School of Law):

      Amicus Curiae

   5. Dogan, Stacey (Professor, Boston University School of Law): Amicus Curiae

   6. Farley, Christine Haight (Professor, American University Washington

      College of Law): Amicus Curiae

   7. Gebhard-Koenigstein, August (Certified Law Student, Stanford Law School

      Juelsgaard Intellectual Property and Innovation Clinic)




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  8. Ghosh, Shubha (Professor, Syracuse University College of Law): Amicus

     Curiae

  9. Gibson, James (Professor, University of Richmond School of Law): Amicus

     Curiae

  10. Goldman, Eric (Professor, Santa Clara University School of Law): Amicus

     Curiae

  11. Heymann, Laura A. (Professor, William & Mary Law School): Amicus Curiae

  12. Hsieh, Timothy T. (Professor, Oklahoma City University School of Law):

     Amicus Curiae

  13. Johnson, Eric E. (Professor, University of Oklahoma College of Law):

     Amicus Curiae

  14. Lantagne, Stacey M. (Professor, Western New England University School of

     Law): Amicus Curiae

  15. Lemley, Mark A. (Professor, Stanford Law School): Amicus Curiae

  16. Levine, David S. (Professor, Elon University School of Law): Amicus Curiae

  17. Li, Selina (Certified Law Student, Stanford Law School Juelsgaard

     Intellectual Property and Innovation Clinic)

  18. Liebesman, Yvette Joy (Professor, Saint Louis University School of Law):

     Amicus Curiae




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  19. Lobel, Orly (Professor, University of San Diego School of Law): Amicus

     Curiae

  20. Love, Brian J. (Professor, Santa Clara University School of Law): Amicus

     Curiae

  21. Malone, Phillip (Counsel of Record for Amici)

  22. Mendoza, Carlos E. (U.S. District Judge)

  23. McKenna, Mark P. (Professor, UCLA School of Law): Amicus Curiae

  24. Miers, Jess (Professor, University of Akron School of Law): Amicus Curiae

  25. Moffat, Viva R. (Professor, University of Denver Sturm College of Law):

     Amicus Curiae

  26. Ochoa, Tyler T. (Professor, Santa Clara University School of Law): Amicus

     Curiae

  27. Perzanowski, Aaron (Professor, University of Michigan Law School):

     Amicus Curiae

  28. Ramsay, Lisa (Professor, University of San Diego School of Law): Amicus

     Curiae

  29. Reid, Amanda (Professor, University of North Carolina at Chapel Hill):

     Amicus Curiae

  30. Rosenblatt, Betsy (Professor, Case Western Reserve University School of

     Law): Amicus Curiae



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   31. Said, Zahr K. (Professor, Santa Clara University School of Law): Amicus

      Curiae

   32. Silbey, Jessica (Professor, Boston University School of Law): Amicus Curiae

   33. Sprigman, Christopher (Professor, NYU School of Law): Amicus Curiae

   34. Srejovic, Nina (Counsel of Record for Amici)

   35. Stanford Law School Juelsgaard Intellectual Property and Innovation Clinic

   36. Tang, Xiyin (Professor, UCLA School of Law): Amicus Curiae

   37. Tushnet, Rebecca (Professor, Harvard Law School): Amicus Curiae

   38. Zhou, Jina (Certified Law Student, Stanford Law School Juelsgaard

      Intellectual Property and Innovation Clinic)



                     CORPORATE DISCLOSURE STATEMENT

      Pursuant to Federal Rule of Appellate Procedure 26.1, amici state that they

have no parent corporation and that no publicly held corporation holds 10 percent

or more of their stock.




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                MOTION FOR LEAVE TO FILE AMICI BRIEF

       Amici Intellectual Property and Media Law Professors respectfully move for

leave to file a brief in support of Appellant in this appeal, pursuant to Federal Rule

of Appellate Procedure 29(a)(2) and (a)(3) and 11th Circuit Rule 29-1.1 The

proposed brief is being tendered herewith. All parties have received notice of the

filing of this motion and proposed brief. Counsel for Appellant has consented to the

filing of the proposed brief; counsel for Appellee has advised that Appellee opposes

the filing.

       Amici are 31 professors of intellectual property and media law at universities

throughout the United States. Amici regularly write and teach about trademark law

and intellectual property law generally.2 Various of the amici have long studied and

written about the implications of competitive keyword advertising and initial interest

confusion in trademark law, as well as the positive impact that keyword advertising

can have on informing consumers and facilitating valuable competition. Amici have

no personal or financial interest in the outcome of this case. They share a

professional interest in ensuring that trademark law develops in a way that serves




1
  Amici state, pursuant to 11th Circuit Rule 27-1(a)(4), that they are not aware of
prior actions of this or any other court or judge to which this motion, or a
substantially similar or related application for relief, has been made.
2
  A list of amici law professors and their institutional affiliations, for identification
purposes only, is provided in the Appendix.

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the public interest by protecting consumers from confusion while promoting

vigorous, truthful competition in the marketplace.

      The proposed amici brief satisfies the requirements of Federal Rule of

Appellate Procedure 29(a)(3) because the brief is desirable and asserts matters

relevant to the disposition of this case. The brief provides and explains amici law

professors’ perspectives that, 1) as a matter of trademark law, advertisers that place

ads through competitive keyword bidding, without also using the mark in ad text, do

not infringe another’s mark, and 2) by placing an ad through bidding on a

competitor’s mark as a keyword the advertiser does not designate the source of its

own goods. The brief also explains that the theory of initial interest confusion

(“IIC”), which this Court has never adopted, is a doubtful one in most circumstances

and that, even if there are some contexts in which that theory is viable, competitive

keyword advertising is not one.

      Finally, the proposed brief details why competitive keyword advertising is a

valuable method of marketing to potential customers, providing consumers with

helpful information about their purchasing options and thereby increasing

competition in the marketplace. Amici share their understandings that, rather than

infringing the rights of trademark holders, competitive keyword advertising serves

trademark law’s goals of reducing consumer search costs and helping markets

function. The proposed brief analyzes and articulates how these factors have led



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federal appellate and district courts across the country to reach a clear consensus that

competitive keyword advertising is not infringing and is legally permissible.

      Amici’s careful and detailed explanations of these specific aspects of

trademark law and its development in the proposed brief are relevant to the

disposition of this case. Appellant’s opening brief squarely raises in this appeal the

argument that purchases of keyword advertisements are not, as a matter of law,

trademark infringement, that IIC does not cause confusion for infringement

purposes, and that adopting IIC as a type of trademark infringement would deny

consumers important information and prevent them from making informed choices.

Appellant’s Br. 3-4, 34-37; Dkt.25. These are precisely the issues on which the

proposed brief provides amici’s extensive expertise and perspectives.

      These issues were pursued by Appellee at trial and squarely raised by the

District Court in its post-trial decisions. For example, the District Court’s September

29, 2023 disgorgement and preliminary injunction order expressly discussed that

whether keyword advertising or IIC can lead to infringement are open questions in

the Eleventh Circuit, noting that the former “is not clear under Eleventh Circuit law”

and that the Circuit has “not yet accepted” the latter. Dkt.423 at 22-23. The Order

rejected Appellee’s proposed injunction that sought to prohibit Appellant from using

Plaintiff’s Marks “as keywords or search terms . . . to trigger advertisements,

messaging, marketing, or the display of any product [it] offered for sale.” Id. at 23.



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But the court’s statement in the Order that “it does not appear that every use of

keywords in this manner would constitute trademark infringement,” id. at 22

(emphasis added), reveals its view that some keyword advertising uses would

constitute infringement. The court also stated that “using or purchasing keywords in

a manner that would create a likelihood of consumer confusion is already prohibited

by the remainder of the injunction, which broadly prohibits use in a manner that is

likely to create such confusion,” id. at 23, again reflecting its conclusion that

keyword advertising can cause confusion and constitute trademark infringement.3

Thus, these issues are directly raised by this appeal, and the arguments in amici’s

brief are relevant.4

      The proposed brief is also desirable. It will assist this Court’s consideration

of important but currently unresolved questions in this Circuit regarding competitive




3
  The District Court discussed these issues over two pages of its Order, even
though it also remarked in a footnote that the litigation was about “systematic
infringement” of Appellee’s marks and not about Appellant’s keyword bids.
Dkt.423 at 9, n.6.
4
  In refusing to consent to the filing of the proposed amici brief, counsel for Appellee
advised counsel for amici that it believed the arguments in the proposed amici brief
about competitive keyword advertising and initial interest confusion “are not
relevant to this case.” For the reasons described above, that belief is not correct.
Amici recognize that the evidence at trial and the District Court’s orders addressed
other possible bases for infringement beyond competitive keyword advertising.
Amici’s proposed brief does not address those other issues and amici take no position
on them. Rather, amici submit the proposed brief to assist this Court in resolving the
legal principles specifically regarding competitive keyword advertising and IIC.

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keyword advertising and trademark infringement and whether initial interest

confusion can be a viable theory of infringement. The evolution and current state of

the law regarding those questions, and the reasons other courts have developed the

law as they have, are the very matters on which the brief provides amici’s expertise

and carefully studied perspectives.

      For the reasons stated above, amici respectfully request leave to file their

proposed brief.


March 19, 2025                  Respectfully submitted,


                                By: /s/ Phillip R. Malone

                                      Phillip R. Malone
                                      Nina K. Srejovic
                                      JUELSGAARD INTELLECTUAL PROPERTY AND
                                          INNOVATION CLINIC
                                      Mills Legal Clinic at Stanford Law School
                                      559 Nathan Abbott Way
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                                      Tel: (650) 725-6369
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                                      Counsel for Amici Curiae




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                     CERTIFICATE OF COMPLIANCE

      This motion complies with the type-volume limitation of Federal Rules of

Appellate Procedure 27(d)(2)(A) because it contains 1078 words.

      This motion complies with Eleventh Circuit Rule 27-1(a)(11) and with the

typeface requirements of Federal Rule of Appellate Procedure 32(a)(5) and the type-

style requirements of Federal Rule of Appellate Procedure 32(a)(6) because it has

been prepared in a proportionally spaced typeface using Microsoft Word in 14-point

Times New Roman font.



Dated: March 19, 2025

                                               /s/Phillip R. Malone/
                                      Phillip R. Malone
                                      Counsel for Amici Curiae




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                          CERTIFICATE OF SERVICE

      I hereby certify that on March 19, 2025, I caused the foregoing Motion of 31

Intellectual Property and Media Law Professors as Amici Curiae in Support of

Appellant and Reversal to be electronically filed with the Clerk of the Court for the

U.S. Court of Appeals for the Eleventh Circuit using CM/ECF, which will

automatically send email notification of such filing to all counsel of record.



Dated: March 19, 2025

                                                /s/Phillip R. Malone/
                                       Phillip R. Malone
                                       Counsel for Amici Curiae




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                                   APPENDIX

       Amici curiae law professors are listed below. Affiliation is provided for

identification purposes only, and the brief does not reflect the views of the listed

institutions.

Professor Michael A. Carrier
Rutgers Law School

Professor Zachary Catanzaro
St. Thomas University, Benjamin L. Crump College of Law

Professor Shari Seidman Diamond
Northwestern University Pritzker School of Law

Professor Ashley R. Dobbs
University of Richmond School of Law

Professor Stacey Dogan
Boston University School of Law

Professor Shubha Ghosh
Syracuse University College of Law

Professor James Gibson
University of Richmond School of Law

Professor Eric Goldman
Santa Clara University School of Law

Professor Christine Haight Farley
American University Washington College of Law

Professor Laura A. Heymann
William & Mary Law School


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Professor Timothy T. Hsieh
Oklahoma City University School of Law

Professor Eric E. Johnson
University of Oklahoma College of Law

Professor Stacey M. Lantagne
Western New England University School of Law

Professor Mark A. Lemley
Stanford Law School

Professor David S. Levine
Elon University School of Law

Professor Yvette Joy Liebesman
Saint Louis University School of Law

Professor Orly Lobel
University of San Diego School of Law

Professor Brian J. Love
Santa Clara University School of Law

Professor Mark P. McKenna
UCLA School of Law

Professor Jess Miers
University of Akron School of Law

Professor Viva R. Moffat
University of Denver Sturm College of Law

Professor Tyler T. Ochoa
Santa Clara University School of Law

Professor Aaron Perzanowski
University of Michigan Law School


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Professor Lisa Ramsay
University of San Diego School of Law

Professor Amanda Reid
University of North Carolina at Chapel Hill

Professor Betsy Rosenblatt
Case Western Reserve University School of Law

Professor Zahr K. Said
Santa Clara University School of Law

Professor Jessica Silbey
Boston University School of Law

Professor Christopher Sprigman
NYU School of Law

Professor Xiyin Tang
UCLA School of Law

Professor Rebecca Tushnet
Harvard Law School




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